
78 N.Y.2d 1119 (1991)
The People of the State of New York, Respondent,
v.
Steven Cheswick, Appellant.
Court of Appeals of the State of New York.
Decided November 26, 1991.
Francis Gordon GaNun for appellant.
Richard A. Brown, District Attorney (John Castellano of counsel), for respondent.
Concur: Chief Judge WACHTLER and Judges SIMONS, KAYE, ALEXANDER, TITONE, HANCOCK, JR., and BELLACOSA.
On review of submissions pursuant to section 500.4 of the *1121 Rules of the Court of Appeals (22 NYCRR 500.4), order affirmed. The sole issue raised by defendant has not been preserved for this Court's review.
